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     Capacity, and the County of Los Angeles
13
14                             UNITED STATES DISTRICT COURT
15                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                     WESTERN DIVISION
17 UNITED STATES OF AMERICA,                       Case No. 2:15-cv-5903-DDP-JEM
18               Plaintiff,                        JOINT STIPULATION TO MODIFY
                                                   PROVISION 67 OF THE
19                      v.                         SETTLEMENT AGREEMENT
20 COUNTY OF LOS ANGELES et al.,
                                                   Hon. Dean D. Pregerson
21               Defendants.                       United States District Judge
22
23         Defendants County of Los Angeles (“County”) and the Los Angeles County
24   Sheriff (“Sheriff”) and Plaintiff United States of America (collectively, the “Parties”),
25   enter into this Joint Stipulation to Modify Provision 67 of the Settlement Agreement
26   (“Joint Stipulation”).
27         I.     Background
28         On August 5, 2015, the United States filed a complaint against the County and the
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 1   Sheriff alleging systemic violations of incarcerated persons’ federal constitutional rights
 2   in the Los Angeles County Jails under the Civil Rights of Institutionalized Persons Act,
 3   42 U.S.C. § 1997, and the Violent Crime Control and Law Enforcement Act of 1994, 42
 4   U.S.C. § 14141 (re-codified at 34 U.S.C. § 12601). ECF Doc. 1. The same day, the
 5   Parties filed a joint stipulation seeking approval of a settlement agreement to resolve the
 6   United States’ complaint. ECF Doc. 4. On September 3, 2015, the Court approved the
 7   settlement agreement and retained jurisdiction to enforce it. ECF Doc. 14.
 8         The County believes revising Provision 67 will allow it to better direct compliance
 9   efforts to goals advanced in the Settlement Agreement, and assist the County and the
10   Sheriff in more accurately and efficiently directing compliance efforts and
11   documentation. The United States does not object to the changes, some of which have
12   already been part of the auditing methodology for years with the assent of the former
13   Monitor and former Mental Health Subject Matter Expert. The Monitor and his team
14   have also been consulted and concur with the changes. Accordingly, the Parties stipulate
15   to revise Provision 67 of the Settlement Agreement as set forth below.
16         II.    Stipulation to Modify Settlement Agreement
17         The settlement agreement permits the Parties to modify its terms by stipulation.
18   ECF Doc. 14 ¶ 119. Provision 119 of the settlement states, in relevant part, “The Parties
19   may jointly stipulate to make changes, modifications, and amendments to this
20   Agreement, which will be effective absent further action from the Court, 30 days after a
21   stipulation signed by all of the Parties has been filed with the Court.” Id. As set forth
22   below, the Parties jointly stipulate to revise Provision 67 pursuant to Provision 119 of
23   the Settlement Agreement.
24         Provision 67 as originally filed read as follows:
25
26         Within three months of the Effective Date, the County and the Sheriff will
27         implement policies for prisoners housed in High Observation Housing and
28         Moderate Observation Housing that require:
                                                 2
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 1                (a)     documentation of a prisoner’s refusal of psychotropic medication in
 2                the prisoner’s electronic medical record;
 3                (b)     discussion of a prisoner’s refusal in treatment team meetings;
 4                (c)     the use of clinically appropriate interventions with such prisoners to
 5                encourage medication compliance;
 6                (d)     consideration of the need to transfer non-compliant prisoners to
 7                higher levels of mental health housing; and
 8                (e)     individualized consideration of the appropriateness of seeking court
 9                orders for involuntary medication pursuant to the provisions of California
10                Welfare and Institutions Code sections 5332-5336 and/or California Penal
11                Code section 2603(a).
12   Id. ¶ 67.
13          The Parties’ agreed-upon revisions to Provision 67 separate patients into two
14   groups according to acuity level and impose distinct requirements as to each group. The
15   Parties stipulate to modify the text of Provision 67, pursuant to Provision 119, to read as
16   follows:
17
18          The County and the Sheriff will implement policies for patients housed in High
19          Observation Housing and Moderate Observation Housing that require:
20          (a)   For patients with a Mental Health Level of Care (“MHLOC”) of P2:
21                (i)     documentation of a patient’s refusal of psychotropic medication in
22                the patient’s electronic medical record;
23                (ii)    the use of clinically appropriate interventions with such patients to
24                encourage medication adherence; and
25                (iii)   consideration of the need to transfer non-adherent patients to higher
26                levels of mental health housing.
27          (b)   For patients with an MHLOC of P3 or P4:
28                (i)     documentation of a patient’s refusal of psychotropic medication in
                                                 3
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 1               the patient’s electronic medical record;
 2               (ii)    the use of clinically appropriate interventions with such patients to
 3               encourage medication adherence;
 4               (iii)   consideration of the need to transfer non-adherent patients to higher
 5               levels of care;
 6               (iv)    discussion in treatment team meetings of non-adherent patients who
 7               are under consideration for admission to the forensic in-patient unit (i.e.,
 8               individuals with an MHLOC of P4 as well as individuals referred for
 9               consideration of an increase to P4); and
10               (v)     individualized consideration of the appropriateness of seeking orders
11               for involuntary medication pursuant to the provisions of California Welfare
12               and Institutions Code sections 5332-5336 and/or California Penal Code
13               section 2603(a).
14         III. Remainder of Settlement Agreement
15         Except as amended in this Joint Stipulation, the provisions of the Settlement
16   Agreement shall remain unchanged and in full force and effect and shall apply to
17   amended Provision 67.
18   //
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                                4
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 1         STIPULATED AND AGREED UPON by the County, the Sheriff, and the United
 2   States of America.
 3
 4   Dated: April 22, 2024                           FOR THE UNITED STATES:
 5   JOSEPH T. MCNALLY                               KRISTEN CLARKE
     Attorney for the United States                  Assistant Attorney General
 6   Acting Under Authority Conferred by 28          Civil Rights Division
 7   U.S.C. § 515
                                                     STEVEN H. ROSENBAUM
 8   DAVID M. HARRIS                                 Chief, Special Litigation Section
     Assistant United States Attorney                Civil Rights Division
 9   Chief, Civil Division
                                                     MAURA KLUGMAN
10                                                   Deputy Chief, Special Litigation Section
11   /s/ Richard M. Park                             Civil Rights Division
     RICHARD M. PARK
12   Assistant United States Attorney                /s/ Matthew Nickell
     Chief, Civil Rights Section, Civil Division     LUIS E. SAUCEDO
13                                                   MAGGIE FILLER
                                                     MATTHEW NICKELL
14                                                   NICHOLAS SHEEHAN
                                                     Trial Attorneys, Special Litigation Section
15                                                   Civil Rights Division
16
17                                                   Attorneys for the United States of America
18
19
     Dated: April 22, 2024                           FOR DEFENDANTS:
20
21                                                   /s/ Robert E. Dugdale
                                                     ROBERT E. DUGDALE*
22                                                   Kendall Brill & Kelly LLP
23
24                                                   Attorneys for the County of Los Angeles
25                                                   and Los Angeles County Sheriff
26
27   * I hereby attest that all signatories listed, and on whose behalf this filing is submitted,
28   concur in this filing’s content and have authorized its filing.
                                                 5
